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         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


    WESTON MCLACHLAN and PATTY
    MCLACHLAN, on behalf of themselves
    and on behalf of the minor child, W.M.,

                  Plaintiffs,                         MEMORANDUM DECISION AND
                                                               ORDER
    v.                                                DENYING MOTION FOR RULE 35
                                                       EXAMINATION OF PLAINTIFF
    GRANITE SCHOOL DISTRICT; SHERRI
    BRANCH, an individual and Vice Principal           Case No. 2:16-cv-00405-CW-PMW
    at Eisenhower Jr. High; BRENDA
    ZIMMERMAN, an individual and former
    intern Vice Principal at Eisenhower Jr.              District Judge Clark Waddoups
    High; MARK ELLERMEIER, an
    individual and Principal at Eisenhower Jr.       Chief Magistrate Judge Paul M. Warner
    High; and JOHN DOES 1-25,

                  Defendants.


          District Judge Clark Waddoups referred this case to Chief Magistrate Judge Paul M.

Warner pursuant to 28 U.S.C. § 636(b)(1)(A). 1 Before the court is Defendants’ Motion for Rule

35 Examination of Plaintiff (the “Motion”). 2 The court has carefully reviewed the written

memoranda submitted by the parties. Pursuant to civil rule 7-1(f) of the Rules of Practice for the

United States District Court for the District of Utah, the court has concluded that oral argument is




1
    See docket no. 21.
2
    See docket no. 30.
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not necessary and will determine the motion on the basis of the written memoranda. See

DUCivR 7-1(f).

          Defendants move this court for an order compelling Plaintiff W.M. to submit to a mental

examination pursuant to Rule 35 of the Federal Rules of Civil Procedure. Specifically, the

Defendants seek to have their expert, Dr. Mickle South assess W.M. for autism. 3 In relevant part,

Rule 35 provides:

                 (a) Order for an Examination.

                      (1) In General. The court where the action is pending may
                      order a party whose mental or physical condition--including
                      blood group--is in controversy to submit to a physical or
                      mental examination by a suitably licensed or certified
                      examiner. The court has the same authority to order a party to
                      produce for examination a person who is in its custody or
                      under its legal control.

Fed. R. Civ. P. 35(a)(1)-(2). The decision to grant a Rule 35 examination is within the discretion

of the trial court.

                 Rule 35 . . . requires discriminating application by the trial judge,
                 who must decide, as an initial matter in every case, whether the
                 party requesting a mental or physical examination or examinations
                 has adequately demonstrated the existence of the Rule’s
                 requirements of “in controversy” and “good cause,” which
                 requirements . . . are necessarily related.

Schlagenhauf v. Holder, 379 U.S. 104, 118-119 (1964). The Tenth Circuit “reviews discovery

decisions pertaining to Rule 35 examinations for an abuse of discretion.” Herrera v. Lufkin

Indus., 474 F.3d 675, 688 (10th Cir. 2007).




3
    See docket no. 30 at 3.

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          Although the complaint alleges “mental and emotional injury” caused by “[t]he actions

and inactions of defendants,” 4 Plaintiffs have not asserted W.M.’s autism diagnosis “either in

support of or in defense of a claim.” Schlagenhauf, 379 U.S. at 119. However, Defendants argue

that W.M.’s autism diagnosis was put “in controversy,” not in the pleadings, but when the

Plaintiffs submitted a Rule 26 expert report which summarizes the diagnosis. 5 Defendants cite no

case law in support of their argument that a party’s mental condition can be put “in controversy”

by an expert report where the mental condition is not asserted in support of a claim. However,

whether W.M.’s autism diagnosis is properly “in controversy” is immaterial to the analysis,

because the court concludes that the Defendants have not established the “good cause”

requirement of Rule 35.

          The Motion was filed over a year after Defendants were put on notice that Plaintiffs

alleged mental and emotional injury, and several months after all applicable deadlines have

passed. The complaint in this action was first filed in state court in April 2016. The deadline for

fact discovery was February 10, 2017, more than five months ago. Defendants argue that they

did not seek a mental examination of the W.M. during fact discovery because the autism

diagnosis is “simply not relevant to the legal claims raised in this lawsuit.” 6

          Instead, Defendants assert that they sought a mental examination only after the Plaintiffs’

expert report was submitted, which, according to Defendants, first put W.M.’s autism diagnosis

in controversy. The Plaintiffs’ expert report was submitted on May 31, 2017. Defendants have

4
    See Complaint, docket no. 2, exh. 1 at 15-19.
5
    See docket no. 30 at 2.
6
    Docket no. 34 at 2.

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known the contents of Plaintiffs’ expert report since May 31, 2017. Even if the court accepts

Defendants’ argument that W.M.’s autism diagnosis was not put in controversy until the

submission of Plaintiffs’ expert report, Defendants have failed to explain their two-month delay

in requesting an order for a Rule 35 examination. It is not lost on the court that the Defendants

moved for, and received, an extension until July 19, 2017, to submit their expert counter report.

Yet, inexplicably, Defendants waited until August 1, 2017 to file the Motion.

       Generally, the Federal Rules of Civil Procedure provide for expansive discovery

regarding “any nonprivilged matter that is relevant to any party’s claim or defense,” as long as it

is “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Here, however, Defendants

have not provided any justification for bringing the Motion so far beyond the expiration of

applicable deadlines. Defendants have failed to adequately demonstrate good cause why a Rule

35 examination should be ordered now.

       Finally, Defendants moved this court for the first time in their reply memorandum to

order in limine that Plaintiffs refrain from referring to W.M. as having autism, Asperger’s, or

PTSD in this litigation. Pursuant to Pursuant to civil rule 7-1(b) of the Rules of Practice for the

United States District Court for the District of Utah, “[n]o motion . . . may be included in a

response or reply memorandum. Such motions must be made in a separate document.” DUCivR

7-1(b)(1)(A). Therefore, the court declines to rule on Defendants’ motion in limine contained in

the reply memorandum.




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      For the foregoing reasons, Defendants’ Motion for Rule 35 Examination of Plaintiff is

hereby DENIED.

      IT IS SO ORDERED.

      DATED this 12th day of September, 2017.

                                           BY THE COURT:




                                           PAUL M. WARNER
                                           Chief United States Magistrate Judge




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